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      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
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     HAKAN DURANTAS, on behalf of himself and all :                Case no. 1:23-cv-9546
     others similarly situated,                   :
                                                  :
                            Plaintiffs,           :
                                                  :                CLASS ACTION COMPLAINT
                             v.                   :                          AND
                                                  :                 DEMAND FOR JURY TRIAL
     Throgs Neck Dental Offices, P.C.,            :
                                                  :
                            Defendant.            :
                                                  :
                                                  :
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                                             INTRODUCTION

1.   Plaintiff, HAKAN DURANTAS (“Plaintiff” or “DURANTAS”), brings this action on behalf of

     himself and all other persons similarly situated against Throgs Neck Dental Offices, P.C.

     (hereinafter “Throgs Neck Dental Offices” or “Defendant”), and states as follows:


2.   Plaintiff is a visually-impaired and legally blind person who requires screen-reading software to

     read website content using his computer. Plaintiff uses the terms “blind” or “visually-impaired” to

     refer to all people with visual impairments who meet the legal definition of blindness in that they

     have a visual acuity with correction of less than or equal to 20 x 200. Some blind people who meet

     this definition have limited vision; others have no vision.


3.   Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the United States

     are visually impaired, including 2.0 million who are blind, and according to the American

     Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired persons live in

     the State of New York.




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4.   Plaintiff brings this civil rights action against Throgs Neck Dental Offices for their failure to design,

     construct, maintain, and operate their website to be fully accessible to and independently usable

     by Plaintiff and other blind or visually-impaired persons. Defendant is denying blind and

     visually impaired persons throughout the United States with equal access to services Throgs Neck

     Dental      Offices       provides       to      their      non-disabled        customers       through

     https://www.throgsneckdental.com (hereinafter “Throgsneckdental.com” or “the website”).

     Defendant’s denial of full and equal access to its website, and therefore denial of its services offered,

     and in conjunction with its physical locations, is a violation of Plaintiff’s rights under the Americans

     with Disabilities Act (the “ADA”).


5.   Throgsneckdental.com provides to the public a wide array of services, price specials and other

     programs offered by Throgs Neck Dental Offices. Throgs Neck Dental Offices specializes in dental

     services, including cleanings, fillings, crowns, bridges, dentures, and implants. Yet,

     Throgsneckdental.com contains significant access barriers that make it difficult if not impossible

     for blind and visually-impaired customers to use the website. In fact, the access barriers make it

     impossible for blind and visually-impaired users to enjoy and learn about the services at

     Throgsneckdental.com prior to entering Defendant’s physical location. Thus, Throgs Neck Dental

     Offices excludes the blind and visually-impaired from the full and equal participation in the

     growing Internet economy that is increasingly a fundamental part of the common marketplace and

     daily living. In the wave of technological advances in recent years, assistive computer technology

     is becoming an increasingly prominent part of everyday life, allowing blind and visually-impaired

     persons to fully and independently access a variety of services.


6.   The blind have an even greater need than the sighted to have access to various websites in order to

     compare merchandise, benefits and prices, to get more information about the companies, their



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     locations and hours of operation. The lack of an accessible website deters blind people from visiting

     Defendant’s physical location and enjoying services that it provides to the public.


7.   Despite readily available accessible technology, such as the technology in use at other heavily

     trafficked websites, which makes use of alternative text, accessible forms, descriptive links,

     resizable text and limits the usage of tables and JavaScript, Defendant has chosen to rely on an

     exclusively visual interface. Throgs Neck Dental Offices’ sighted customers can independently

     browse and learn more information about the company and its services without the assistance of

     others. However, blind persons must rely on sighted companions to assist them in accessing

     Throgsneckdental.com.


8.   By failing to make the website accessible to blind persons, Defendant is violating basic equal access

     requirements under both state and federal law.


9.   Congress provided a clear and national mandate for the elimination of discrimination against

     individuals with disabilities when it enacted the ADA. Such discrimination includes barriers to full

     integration, independent living, and equal opportunity for persons with disabilities, including those

     barriers created by websites and other public accommodations that are inaccessible to blind and

     visually impaired persons. Similarly, New York state law requires places of public accommodation

     to ensure access to goods, services, and facilities by making reasonable accommodations for

     persons with disabilities.


10. Plaintiff browsed and intended to analyze and use services provided by Defendant on

     Throgsneckdental.com. He was looking for a clinic where he could have a dental examination and

     cleaning. As he has not visited the specialist for a long time, and he wanted a cleaning that cannot

     be achieved at home, he was trying to find a dentist to schedule an appointment with. While



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    analyzing the websites of the dental practices, Plaintiff discovered Defendant`s website, but could

    not efficiently navigate the website and could not make an appointment because of the inaccurate

    form instructions. However, unless Defendant remedies the numerous access barriers on its website,

    Plaintiff and Class members will continue to be unable to independently navigate, browse and use

    Throgsneckdental.com.


11. Because Defendant’s website, Throgsneckdental.com, is not equally accessible to blind and

    visually-impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction to cause

    a change in Throgs Neck Dental Offices’ policies, practices, and procedures to that Defendant’s

    website will become and remain accessible to blind and visually-impaired consumers. This

    complaint also seeks compensatory damages to compensate Class members for having been

    subjected to unlawful discrimination.


                                    JURISDICTION AND VENUE


12. This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42 U.S.C. §

    12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28

    U.S.C. § 1332. This Court also has supplemental jurisdiction over pursuant to 28 U.S.C. § 1367,

    over Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y. Exec. Law,

    Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law, N.Y.C.

    Administrative Code § 8-101 et seq. (“City Law”).


13. Venue is proper in this District of New York pursuant to 28 U.S.C. §§ 1391(b)(c) and 144(a)

    because Defendant conducts and continues to conduct a substantial and significant amount of

    business in this District, and a substantial portion of the conduct complained of herein occurred in




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    this District because Plaintiff attempted to utilize, on a number of occasions, the subject Website

    within this Judicial District.


14. Defendant is registered to do business in New York State and has been conducting business in New

    York State, including in this District. Defendant purposefully targets and otherwise solicits business

    from New York State residents through its website. Because of this targeting, it is not unusual for

    Throgs Neck Dental Offices to conduct business with New York State residents. Defendant also

    has been and is committing the acts alleged herein in this District and has been and is violating the

    rights of consumers in this District and has been and is causing injury to consumers in this District.

    A substantial part of the act and omissions giving rise to Plaintiff’s claims have occurred in this

    District. Most courts support the placement of venue in the district in which Plaintiff tried and failed

    to access the Website. In Access Now, Inc. v. Otter Products, LLC 280 F.Supp.3d 287 (D. Mass.

    2017), Judge Patti B. Saris ruled that “although the website may have been created and operated

    outside of the district, the attempts to access the website in Massachusetts are part of the sequence

    of events underlying the claim. Therefore, venue is proper in [the District of Massachusetts].” Otter

    Prods., 280 F.Supp.3d at 294. This satisfies Due Process because the harm – the barred access to

    the website – occurred here.” Otter Prods., 280 F.Supp.3d at 293.


    Additionally, in Access Now, Inc. v. Sportswear, Inc., No. 17-cv-11211-NMG, 2018 Dist. LEXIS

    47318 (D. Mass. Mar. 22, 2018), Judge Nathaniel M. Gorton stated that the defendant “availed

    itself of the forum state’s economic activities by targeting the residents of the Commonwealth . . .

    Such targeting evinces a voluntary attempt to appeal to the customer base in the forum.” Sportswear,

    No. 1:17-cv-11211-NMG, 2018 U.S. Dist. LEXIS 47318 at *11. Thus, establishing a customer base

    in a particular district is sufficient cause for venue placement.




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                                                PARTIES


15. Plaintiff, is and has been at all relevant times a resident of Queens County, State of New York.

16. Plaintiff is legally blind and a member of a protected class under the ADA, 42 U.S.C. § 12102(l)-

    (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the New York

    State Human Rights Law and the New York City Human Rights Law. Plaintiff, HAKAN

    DURANTAS, cannot use a computer without the assistance of screen reader software. Plaintiff has

    been denied the full enjoyment of the facilities and services of Throgsneckdental.com as a result of

    accessibility barriers on Throgsneckdental.com.

17. Defendant, Throgs Neck Dental Offices, P.C., is a New York Corporation doing business in this

    State with its principal place of business located at 3161 East Tremont Avenue, Bronx, NY 10461.

    Plaintiff intended to visit Defendant’s physical location at the same address.

18. Throgs Neck Dental Offices provides to the public a website known as Throgsneckdental.com

    which provides consumers with access to an array of dental services, including preventive care,

    restorative care, and oral surgery which Defendant offers in connection with their physical location.

    Consumers across the United States use Defendant’s website to find the information about the

    dentist’s location and hours of operation, as well as information about the goods and services in its

    physical location. Defendant’s website is a place of public accommodation within the definition of

    Title III of the ADA, 42 U.S.C. § 12181(7). See Victor Andrews v. Blick Art Materials, LLC, No.

    17-cv-767, 2017 WL 3278898 (E.D.N.Y. August 1, 2017). Plaintiff has been denied the full

    enjoyment of the facilities, goods and services of Throgsneckdental.com, as well as deprived of the

    opportunity to enjoy the facilities, goods and services of Defendant’s brick and mortar location, as

    a result of accessibility barriers on Throgsneckdental.com.




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                                         NATURE OF THE CASE


19. The Internet has become a significant source of information, a portal, and a tool for conducting

    business, doing everyday activities such as shopping, learning, banking, researching, as well as

    many other activities for sighted, blind and visually-impaired persons alike.


20. The blind access websites by using keyboards in conjunction with screen-reading software which

    vocalizes visual information on a computer screen. Except for a blind person whose residual vision

    is still sufficient to use magnification, screen access software provides the only method by which a

    blind person can independently access the Internet. Unless websites are designed to allow for use

    in this manner, blind persons are unable to fully access Internet websites and the information,

    products and services contained therein.


21. For screen-reading software to function, the information on a website must be capable of being

    rendered into text. If the website content is not capable of being rendered into text, the blind user is

    unable to access the same content available to sighted users.


22. Blind users of Apple macOS operating system-enabled computers and devices have a built in

    screen-reading software program available to them. "Voice Over” is one of the most popular screen-

    reading software program available for blind computer users.


23. The international website standards organization, the World Wide Web Consortium, known

    throughout the world as W3C, has published version 2.1 of the Web Content Accessibility

    Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for making websites

    accessible to blind and visually-impaired persons. These guidelines are universally followed by

    most large business entities and government agencies to ensure their websites are accessible. Many




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    Courts have also established WCAG 2.1 as the standard guideline for accessibility. The federal

    government has also promulgated website accessibility standards under Section 508 of the

    Rehabilitation Act. These guidelines are readily available via the Internet, so that a business

    designing a website can easily access them. These guidelines recommend several basic components

    for making websites accessible, including but not limited to: adding invisible alt-text to graphics,

    ensuring that all functions can be performed using a keyboard and not just a mouse, ensuring that

    image maps are accessible, and adding headings so that blind persons can easily navigate the site.

    Without these very basic components, a website will be inaccessible to a blind person using a screen

    reader. Websites need to be accessible to the “least sophisticated” user of screen-reading software

    and need to be able to work with all browsers. Websites need to be continually updated and

    maintained to ensure that they remain fully accessible.


                                      FACTUAL ALLEGATIONS


24. Defendant controls and operates Throgsneckdental.com in New York State and throughout the

    United States.


25. Throgsneckdental.com is a commercial website and online platform that provides dental services,

    offered by Defendant in connection with its physical locations.


26. Among the features offered by Throgsneckdental.com are the following:


          a) Customers may find information about dentist’s location and hours of operation, as well

             as information about the services in its physical location, and find information about

             available offers and programs;




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          b) Consumers may use the website to connect with Throgs Neck Dental Offices, P.C. on

              various social media platforms, including Facebook, Twitter, YouTube, Instagram;

          c) Learning about the company and reading customer reviews, reading blog posts, amongst

              other features.

27. This case arises out of Throgs Neck Dental Offices’ policy and practice of denying the blind access

    to the services offered by Throgsneckdental.com. Due to Throgs Neck Dental Offices’ failure and

    refusal to remove access barriers to Throgsneckdental.com, blind individuals have been and are

    being denied equal access to Throgs Neck Dental Offices, as well as to the numerous goods,

    services and benefits offered to the public through Throgsneckdental.com.


28. Throgs Neck Dental Offices denies the blind access to goods, services and information made

    available through Throgsneckdental.com by preventing them from freely navigating

    Throgsneckdental.com.


29. Throgsneckdental.com contains access barriers that prevent free and full use by Plaintiff and blind

    persons using keyboards and screen-reading software. These barriers are pervasive and include, but

    are not limited to: inaccurate landmark structure, ambiguous link texts, changing of content without

    advance warning, unclear labels for interactive elements, inaccurate alt-text on graphics, inaccurate

    navigation links, the lack of adequate labeling of form fields and the requirement that transactions

    be performed solely with a mouse.


30. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical image on a website.

    Web accessibility requires that alt-text be coded with each picture so that a screen-reader can speak

    the alternative text while sighted users see the picture. Alt-text does not change the visual

    presentation except that it appears as a text pop-up when the mouse moves over the picture. There




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    are many important pictures on Throgsneckdental.com that lack a text equivalent. The lack of alt-

    text on these graphics prevents screen readers from accurately vocalizing a description of the

    graphics (screen-readers detect and vocalize alt-text to provide a description of the image to a blind

    computer user). As a result, Plaintiff and blind Throgsneckdental.com customers are unable to

    determine what is on the website.


31. Throgsneckdental.com also lacks prompting information and accommodations necessary to allow

    blind customers who use screen-readers to locate and accurately fill-out online forms. Due to lack

    of adequate labeling, Plaintiff and blind customers cannot find information about the dentist’s

    location and its services, offered by Defendant in connection with its physical locations.


32. When visiting the Website, Plaintiff, using Voice Over, encountered the following specific

    accessibility issues:


              a) "Skip to content" link was not the first interactive element on the web page. Thus,

                  Plaintiff had to navigate through several links located in the header region and, only

                  afterwards, move to the main content of the page;

              b) Landmarks were not properly inserted into the home page. Plaintiff tried to navigate

                  the home page using landmarks but could not access its main regions because of

                  landmark inaccurate markup;

              c) Drop-down menu did not announce how many sub-menu elements it had. As a result,

                  Plaintiff did not have full information regarding the number of sub-menu elements

                  and could not decide if they should be skipped;

              d) Plaintiff encountered links that did not describe the content of the link target. There

                  were no details what kind of information can be found on the destination page;




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        e) Interactive elements that behaved as "buttons" were not programmatically written

           correctly. Instead of using a "role" attribute, they were built by tags such as <span>,

           <div>, <a>, or others. As a result, the screen reader software read the incorrectly

           constructed element and Plaintiff was confused, because of receiving ambiguous

           information about the element in focus;

        f) Plaintiff encountered repetitive link texts that were announced separately from their

           context. These links did not provide helpful information and disoriented Plaintiff;

        g) Interactive elements on the web page had inappropriate and non-descriptive name.

           Plaintiff could not identify the purpose of the interactive element;

        h) Links led to other websites and did not indicate that they were external. Plaintiff was

           disoriented on another website. The link text failed to warn legally blind customers

           about the significant change of the context;

        i) Plaintiff tried to follow the links from the website and received no prior warning that

           the links opened new windows. As a result, Plaintiff unsuccessfully tried to use the

           “Back” function of the browser to go to the previous page and became disoriented;

        j) Image of text was used instead of real text, and was not presented through alternative

           description of the image. Plaintiff was deprived of the visually rendered information

           that was available to sighted customers;

        k) Different images of the same product had similar and poorly descriptive alternative

           text. Plaintiff could not learn more detailed information about the product and its

           features;

        l) Plaintiff was unable to determine if the form fields were mandatory (“Required”). The

           lack of detailed instructions while filling in the form, prevented Plaintiff from




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                 successfully submission of personal information;

             m) The alert notification incorrectly informed that mandatory fields were omitted.

                 Plaintiff must know what fields from the Checkout procedure were missed.


    Consequently, blind customers are essentially prevented from the ability to enjoy and use

    Defendant’s Throgsneckdental.com.


33. Throgsneckdental.com requires the use of a mouse to complete a transaction. Yet, it is a

    fundamental tenet of web accessibility that for a web page to be accessible to Plaintiff and blind

    people, it must be possible for the user to interact with the page using only the keyboard. Indeed,

    Plaintiff and blind users cannot use a mouse because manipulating the mouse is a visual activity of

    moving the mouse pointer from one visual spot on the page to another. Thus,

    Throgsneckdental.com’s inaccessible design, which requires the use of a mouse, denies Plaintiff

    and blind customers the ability to independently navigate Throgsneckdental.com.


34. Due to Throgsneckdental.com’s inaccessibility, Plaintiff and blind customers cannot find

    information about the dentist’s location, provided services and some additional information about

    their services and goods. By contrast, if Throgsneckdental.com was accessible, a blind person could

    independently investigate services, compare features, discounts, promotions and prices via the

    Internet as sighted individuals can and do. According to WCAG 2.1 Guideline 4. 1. 2 "Name, Role,

    Value", all user interface components require a programmatically determinable name. The

    accessible name of interactive elements (buttons, check boxes, radio buttons etc.) enables

    compatibility with assistive technology, such as screen readers, screen magnifiers, and speech

    recognition software, used by people with disabilities. In case the accessible name is not provided,

    some users will not be able to identify the purpose of the form control. Thus, Throgs Neck Dental




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    Offices has inaccessible design that deprives the Plaintiff and blind customers of the opportunity to

    use and enjoy Throgsneckdental.com on their own.


35. Throgsneckdental.com thus contains access barriers which deny the full and equal access to

    Plaintiff, who would otherwise use Throgsneckdental.com and who would otherwise be able to

    fully and equally enjoy the benefits and services of Throgsneckdental.com in New York State and

    throughout the United States.


36. Plaintiff,   HAKAN       DURANTAS,       has   made     numerous     attempts    to   visit   and   use

    Throgsneckdental.com. Firstly, he tried to learn more information about the goods and services

    offered by the company on November 7, 2023, and then he tried again on November 9, 2023, but

    was unable to do so independently because of the many access barriers on Defendant’s website.

    These access barriers have caused Throgsneckdental.com to be inaccessible to, and not

    independently usable by blind and visually-impaired persons. Amongst other access barriers

    experienced, Plaintiff was unable to learn more information about dentist’s location and hours of

    operation, compare prices and benefits and learn more information about the goods and services in

    its physical location.


37. Moreover, Plaintiff will visit the website again immediately upon Defendant correcting the

    numerous accessibility barriers on it. Plaintiff is interested in the quality dental care services with

    highly qualified and experienced staff, and would like to visit one of the Defendant’s physical

    dentist’s location.


38. As described above, Plaintiff has actual knowledge of the fact that Defendant’s website,

    Throgsneckdental.com, contains access barriers causing the website to be inaccessible, and not

    independently usable by, blind and visually-impaired persons.



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39. These barriers to access have denied Plaintiff full and equal access to, and enjoyment of, the benefits

    and services of Throgsneckdental.com.


40. Defendant engaged in acts of intentional 0discrimination, including but not limited to the following

    policies or practices:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or


             (c) failed to take actions to correct these access barriers in the face of substantial harm and

                 discrimination to blind class members.


41. Defendant utilizes standards, criteria or methods of administration that have the effect of

    discriminating or perpetuating the discrimination of others.


42. Because of Defendant’s denial of full and equal access to, and enjoyment of, the goods, benefits

    and services of Throgsneckdental.com, Plaintiff and the class have suffered an injury-in-fact which

    is concrete and particularized and actual and is a direct result of Defendant’s conduct.


                                    CLASS ACTION ALLEGATIONS


43. Plaintiff, on behalf of himself and all others similarly situated, seeks certification of the following

    nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure: “all

    legally blind individuals in the United States who have attempted to access Throgsneckdental.com




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    and as a result have been denied access to the enjoyment of goods and services offered by

    Throgsneckdental.com, during the relevant statutory period.”


44. Plaintiff seeks certification of the following New York subclass pursuant to Fed.R.Civ.P. 23(a),

    23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in New York State who have

    attempted to access Throgsneckdental.com and as a result have been denied access to the enjoyment

    of goods and services offered by Throgsneckdental.com, during the relevant statutory period.”


45. There are hundreds of thousands of visually-impaired persons in New York State. There are

    approximately 8.1 million people in the United States who are visually-impaired. Id. Thus, the

    persons in the class are so numerous that joinder of all such persons is impractical and the

    disposition of their claims in a class action is a benefit to the parties and to the Court.


46. This case arises out of Defendant’s policy and practice of maintaining an inaccessible website

    denying blind persons access to the goods and services of Throgsneckdental.com. Due to

    Defendant’s policy and practice of failing to remove access barriers, blind persons have been and

    are being denied full and equal access to independently browse Throgsneckdental.com.


47. There are common questions of law and fact common to the class, including without limitation, the

    following:


             (a) Whether Throgsneckdental.com is a “public accommodation” under the ADA;


             (b) Whether Throgsneckdental.com is a “place or provider of public accommodation”

                 under the laws of New York;




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             (c) Whether Defendant, through its website, Throgsneckdental.com, denies the full and

                 equal enjoyment of its goods, services, facilities, privileges, advantages, or

                 accommodations to people with visual disabilities in violation of the ADA; and


             (d) Whether Defendant, through its website, Throgsneckdental.com, denies the full and

                 equal enjoyment of its goods, services, facilities, privileges, advantages, or

                 accommodations to people with visual disabilities in violation of the law of New York.


48. The claims of the named Plaintiff are typical of those of the class. The class, similar to the Plaintiff,

    is severely visually-impaired or otherwise blind, and claims Throgs Neck Dental Offices has

    violated the ADA, and/or the laws of New York by failing to update or remove access barriers on

    their website, Throgsneckdental.com, so it can be independently accessible to the class of people

    who are legally blind.


49. Plaintiff will fairly and adequately represent and protect the interests of the members of the Class

    because Plaintiff has retained and is represented by counsel competent and experienced in complex

    class action litigation, and because Plaintiff has no interests antagonistic to the members of the

    class. Class certification of the claims is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

    Defendant has acted or refused to act on grounds generally applicable to the Class, making

    appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.


50. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because questions of

    law and fact common to Class members clearly predominate over questions affecting only

    individual class members, and because a class action is superior to other available methods for the

    fair and efficient adjudication of this litigation.




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51. Judicial economy will be served by maintenance of this lawsuit as a class action in that it is likely

    to avoid the burden that would be otherwise placed upon the judicial system by the filing of

    numerous similar suits by people with visual disabilities throughout the United States.


52. References to Plaintiff shall be deemed to include the named Plaintiff and each member of the class,

    unless otherwise indicated.


                                       FIRST CAUSE OF ACTION

         (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)


53. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs 1

    through 56 of this Complaint as though set forth at length herein.


54. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a) provides that “No

    individual shall be discriminated against on the basis of disability in the full and equal enjoyment

    of the goods, services, facilities, privileges, advantages, or accommodations of any place of public

    accommodation by any person who owns, leases (or leases to), or operates a place of public

    accommodation.” Title III also prohibits an entity from “[u]tilizing standards or criteria or methods

    of administration that have the effect of discriminating on the basis of disability.” 42 U.S.C.

    § 12181(b)(2)(D)(I).


55. Throgsneckdental.com is a public accommodation within the definition of 42 U.S.C. §§ 12181(7).


56. Defendant is subject to Title III of the ADA because it owns and operates Throgsneckdental.com.


57. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities the opportunity to participate




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    in or benefit from the goods, services, facilities, privileges, advantages, or accommodations of an

    entity.


58. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities an opportunity to participate

    in or benefit from the goods, services, facilities, privileges, advantages, or accommodation, which

    is equal to the opportunities afforded to other individuals.


59. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful discrimination

    includes, among other things, “a failure to make reasonable modifications in policies, practices, or

    procedures, when such modifications are necessary to afford such goods, services, facilities,

    privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

    demonstrate that making such modifications would fundamentally alter the nature of such goods,

    services, facilities, privileges, advantages or accommodations.”


60. In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful discrimination

    also includes, among other things, “a failure to take such steps as may be necessary to ensure that

    no individual with disability is excluded, denied services, segregated or otherwise treated

    differently than other individuals because of the absence of auxiliary aids and services, unless the

    entity can demonstrate that taking such steps would fundamentally alter the nature of the good,

    service, facility, privilege, advantage, or accommodation being offered or would result in an undue

    burden.”


61. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their websites accessible, including but not limited to ensuring adequate



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    prompting and accessible alt-text. Incorporating the basic components to make their website

    accessible would neither fundamentally alter the nature of Defendant’s business nor result in an

    undue burden to Defendant.


62. The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C. § 12101 et seq., and

    the regulations promulgated thereunder. Patrons of Throgs Neck Dental Offices who are blind have

    been denied full and equal access to Throgsneckdental.com, have not been provided services that

    are provided to other patrons who are not disabled, and/or have been provided services that are

    inferior to the services provided to non-disabled patrons.


63. Defendant has failed to take any prompt and equitable steps to remedy its discriminatory conduct.

    These violations are ongoing.


64. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Throgsneckdental.com in violation of Title III of the Americans with Disabilities

    Act, 42 U.S.C. §§ 12181 et seq. and/or its implementing regulations.


65. Unless the Court enjoins Defendant from continuing to engage in these unlawful practices, Plaintiff

    and members of the proposed class and subclass will continue to suffer irreparable harm.


66. The actions of Defendant were and are in violation of the ADA, and therefore Plaintiff invokes his

    statutory right to injunctive relief to remedy the discrimination.


67. Plaintiff is also entitled to reasonable attorneys’ fees and costs.




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68. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and incorporated

    therein, Plaintiff prays for judgment as set forth below.

                                     SECOND CAUSE OF ACTION

                     (Violation of New York State Human Rights Law, N.Y. Exec. Law
                                 Article 15 (Executive Law § 292 et seq.))


69. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 72 of this Complaint as though set forth at length herein.


70. N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory practice for any person,

    being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any place of

    public accommodation . . . because of the . . . disability of any person, directly or indirectly, to

    refuse, withhold from or deny to such person any of the accommodations, advantages, facilities or

    privileges thereof.”


71. Throgsneckdental.com is a public accommodation within the definition of N.Y. Exec. Law §

    292(9).


72. Defendant is subject to the New York Human Rights Law because it owns and operates

    Throgsneckdental.com. Defendant is a person within the meaning of N.Y. Exec. Law. § 292(1).


73. Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or remove access barriers

    to Throgsneckdental.com, causing Throgsneckdental.com to be completely inaccessible to the

    blind. This inaccessibility denies blind patrons the full and equal access to the facilities, goods and

    services that Defendant makes available to the non-disabled public.




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74. Specifically, under N.Y. Exec. Law § unlawful discriminatory practice includes, among other

    things, “a refusal to make reasonable modifications in policies, practices, or procedures, when such

    modifications are necessary to afford facilities, privileges, advantages or accommodations to

    individuals with disabilities, unless such person can demonstrate that making such modifications

    would fundamentally alter the nature of such facilities, privileges, advantages or accommodations.”


75. In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory practice also includes,

    “a refusal to take such steps as may be necessary to ensure that no individual with a disability is

    excluded or denied services because of the absence of auxiliary aids and services, unless such

    person can demonstrate that taking such steps would fundamentally alter the nature of the facility,

    privilege, advantage or accommodation being offered or would result in an undue burden.”


76. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature of

    Defendant’s business nor result in an undue burden to Defendant.


77. Defendant’s actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the New York State Human Rights Law, N.Y. Exec. Law § 296(2) in that

    Defendant has:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or




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             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or


             (c) failed to take actions to correct these access barriers in the face of substantial harm and

                 discrimination to blind class members.


78. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory conduct.

    These violations are ongoing.


79. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Throgsneckdental.com under N.Y. Exec. Law § 296(2) et seq. and/or its

    implementing regulations. Unless the Court enjoins Defendant from continuing to engage in these

    unlawful practices, Plaintiff and members of the class will continue to suffer irreparable harm.


80. The actions of Defendant were and are in violation of the New York State Human Rights Law and

    therefore Plaintiff invokes his right to injunctive relief to remedy the discrimination.


81. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines pursuant to

    N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.


82. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


83. Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set forth and

    incorporated therein, Plaintiff prays for judgment as set forth below.




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                                         THIRD CAUSE OF ACTION

                                (Violation of New York State Civil Rights Law,
                               NY CLS Civ R, Article 4 (CLS Civ R § 40 et seq.))


84. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 87 of this Complaint as though set forth at length herein.


85. Plaintiff served notice thereof upon the attorney general as required by N.Y. Civil Rights Law § 41.


86. N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction of this state shall be

    entitled to the full and equal accommodations, advantages, facilities, and privileges of any places

    of public accommodations, resort or amusement, subject only to the conditions and limitations

    established by law and applicable alike to all persons. No persons, being the owner, lessee,

    proprietor, manager, superintendent, agent, or employee of any such place shall directly or

    indirectly refuse, withhold from, or deny to any person any of the accommodations, advantages,

    facilities and privileges thereof . . .”


87. N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . . disability, as such term is

    defined in section two hundred ninety-two of executive law, be subjected to any discrimination in

    his or her civil rights, or to any harassment, as defined in section 240.25 of the penal law, in the

    exercise thereof, by any other person or by any firm, corporation or institution, or by the state or

    any agency or subdivision.”


88. Throgsneckdental.com is a public accommodation within the definition of N.Y. Civil Rights Law

    § 40-c(2).




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89. Defendant is subject to New York Civil Rights Law because it owns and operates

    Throgsneckdental.com. Defendant is a person within the meaning of N.Y. Civil Law § 40-c(2).


90. Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update or remove access

    barriers to Throgsneckdental.com, causing Throgsneckdental.com to be completely inaccessible to

    the blind. This inaccessibility denies blind patrons full and equal access to the facilities, goods and

    services that Defendant makes available to the non-disabled public.


91. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature of

    Defendant’s business nor result in an undue burden to Defendant.


92. In addition, N.Y. Civil Rights Law § 41 states that “any corporation which shall violate any of the

    provisions of sections forty, forty-a, forty-b or forty two . . . shall for each and every violation

    thereof be liable to a penalty of not less than one hundred dollars nor more than five hundred dollars,

    to be recovered by the person aggrieved thereby . . .”


93. Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall violate any of the

    provisions of the foregoing section, or subdivision three of section 240.30 or section 240.31 of the

    penal law, or who shall aid or incite the violation of any of said provisions shall for each and every

    violation thereof be liable to a penalty of not less than one hundred dollars nor more than five

    hundred dollars, to be recovered by the person aggrieved thereby in any court of competent

    jurisdiction in the county in which the defendant shall reside . . .”



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94. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory conduct.

    These violations are ongoing.


95. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class on the basis of disability are being directly indirectly refused,

    withheld from, or denied the accommodations, advantages, facilities and privileges thereof in § 40

    et seq. and/or its implementing regulations.


96. Plaintiff is entitled to compensatory damages of five hundred dollars per instance, as well as civil

    penalties and fines pursuant to N.Y. Civil Rights Law § 40 et seq. for each and every offense.

                                     FOURTH CAUSE OF ACTION
                              (Violation of New York City Human Rights Law,
                                N.Y.C. Administrative Code § 8-102, et seq.)


97. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs 1

    through 100 of this Complaint as though set forth at length herein.


98. N.Y.C. Administrative Code § 8-107(4)(a) provides that “it shall be an unlawful discriminatory

    practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

    employee of any place or provider of public accommodation, because of . . . disability . . . directly

    or indirectly, to refuse, withhold from or deny to such person, any of the accommodations,

    advantages, facilities or privileges thereof.”


99. Throgsneckdental.com is a public accommodation within the definition of N.Y.C. Administrative

    Code § 8-102(9).


100. Defendant is subject to City Law because it owns and operates Throgsneckdental.com. Defendant

    is a person within the meaning of N.Y.C. Administrative Code § 8-102(1).



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101. Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to update or remove

    access barriers to Throgsneckdental.com, causing Throgsneckdental.com to be completely

    inaccessible to the blind. This inaccessibility denies blind patrons full and equal access to the

    facilities, goods, and services that Defendant makes available to the non-disabled public.

    Specifically, Defendant is required to “make reasonable accommodation to the needs of persons

    with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from discriminating

    on the basis of disability shall make reasonable accommodation to enable a person with a disability

    to . . . enjoy the right or rights in question provided that the disability is known or should have been

    known by the covered entity.” N.Y.C. Administrative Code § 8107(15)(a).


102. Defendant’s actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and § 8-107(15)(a) in that

    Defendant has:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or


             (c) failed to take actions to correct these access barriers in the face of substantial harm and

                 discrimination to blind class members.


103. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory conduct.

    These violations are ongoing.




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104. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

     and members of the proposed class and subclass on the basis of disability in the full and equal

     enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

     opportunities of Throgsneckdental.com under N.Y.C. Administrative Code § 8-107(4)(a) and/or its

     implementing regulations. Unless the Court enjoins Defendant from continuing to engage in these

     unlawful practices, Plaintiff and members of the class will continue to suffer irreparable harm.


105. The actions of Defendant were and are in violation of City law and therefore Plaintiff invokes his

     right to injunctive relief to remedy the discrimination.


106. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines under N.Y.C.

     Administrative Code § 8-120(8) and § 8-126(a) for each offense.


107. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


108. Pursuant to N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) and the remedies, procedures,

     and rights set forth and incorporated therein, Plaintiff prays for judgment as set forth below.


                                        FIFTH CAUSE OF ACTION

                                              (Declaratory Relief)


109. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

     1 through 112 of this Complaint as though set forth at length herein.


110. An actual controversy has arisen and now exists between the parties in that Plaintiff contends, and

     is informed and believes that Defendant denies, that Throgsneckdental.com contains access barriers

     denying blind customers the full and equal access to the goods, services and facilities of

     Throgsneckdental.com, which Throgs Neck Dental Offices owns, operates and/or controls, fails to



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    comply with applicable laws including, but not limited to, Title III of the American with Disabilities

    Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Administrative Code

    § 8-107, et seq. prohibiting discrimination against the blind.


111. A judicial declaration is necessary and appropriate at this time in order that each of the parties may

    know their respective rights and duties and act accordingly.


                                          PRAYER FOR RELIEF


    WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and the class and

    against the Defendants as follows:


              a) A preliminary and permanent injunction to prohibit Defendant from violating the

                 Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296,

                 et seq., and N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;


              b) A preliminary and permanent injunction requiring Defendant to take all the steps

                 necessary to make its website, Throgsneckdental.com, into full compliance with the

                 requirements set forth in the ADA, and its implementing regulations, so that

                 Throgsneckdental.com is readily accessible to and usable by blind individuals;


              c) A declaration that Defendant owns, maintains and/or operates its website,

                 Throgsneckdental.com, in a manner which discriminates against the blind and which

                 fails to provide access for persons with disabilities as required by Americans with

                 Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

                 Administrative Code § 8-107, et seq., and the laws of New York;




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         d) An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2)

            and/or (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class

            Counsel;


         e) An order directing Defendants to continually update and maintain its website to ensure

            that it remains fully accessible to and usable by the visually-impaired;


         f) Compensatory damages in an amount to be determined by proof, including all

            applicable statutory damages and fines, to Plaintiff and the proposed class for violations

            of their civil rights under New York State Human Rights Law and City Law;


         g) Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state

            and federal law;


         h) For pre- and post-judgment interest to the extent permitted by law; and


         i) For such other and further relief which this court deems just and proper.
 Dated: Hicksville, New York
 December 28, 2023

                                              MARS KHAIMOV LAW, PLLC
                                              Attorney for Plaintiff

                                              /s/ Mars Khaimov

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